Case 1:14-ml-02570-RLY-TAB Document 13187 Filed 03/31/20 Page 1 of 9 PageID #: 96797




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


     In Re: COOK MEDICAL, INC., IVC      )
     FILTERS MARKETING, SALES            )
     PRACTICES AND PRODUCT               )
     LIABILITY LITIGATION                )                1:14-ml-02570-RLY-TAB
     ___________________________________ )                MDL No. 2570
                                         )
     This Document Relates to:           )
                                         )
     David McDermitt,                    )
     1:18-cv-00946-RLY-TAB               )
     ___________________________________ )


         ENTRY ON THE COOK DEFENDANTS’ MOTION FOR SUMMARY
                    JUDGMENT—STATUTE OF REPOSE

         Cook Incorporated, Cook Medical LLC (f/k/a Cook Medical Incorporated), and

   William Cook Europe APS (collectively “the Cook Defendants” or “Cook”), develop,

   manufacture, sell, and distribute medical devices for use in medical applications

   throughout the United States and the world. The medical device at issue in this case is

   the Günther Tulip® Vena Cava Filter. It is used for the prevention of pulmonary

   embolism by trapping blood clots as they travel through the inferior vena cava.

         David McDermitt, the Plaintiff herein, was implanted with a Cook Tulip filter in

   2007 after developing a blood clot in his leg. Over ten years later, he had a CT scan

   performed which allegedly shows, among other things, that the filter has perforated his

   vena cava. He now brings this products liability lawsuit against the Cook Defendants




                                               1
Case 1:14-ml-02570-RLY-TAB Document 13187 Filed 03/31/20 Page 2 of 9 PageID #: 96798




   alleging strict liability failure to warn, strict liability design defect, negligence, breach of

   warranty, violation of Ohio Rev. Code § 1345.01, and punitive damages.

          This matter is before the court on Defendants’ Motion for Summary Judgment

   based on the statute of repose. The court, having read and reviewed the parties’

   submissions and the applicable law, now finds that Cook Defendants’ motion should be

   GRANTED.

   I.     Background

          David McDermitt was implanted with a Cook Günther Tulip filter by

   interventional radiologist Sabah Butty, M.D., on January 8, 2007. (Filing No. 12803-4,

   Deposition of Sabah Butty, M.D., at 59). He has had no issues with the filter—no pain,

   no discomfort, no physical limitations. (Filing No. 12803-2, Deposition of David

   McDermitt (“McDermitt Dep.”) at 53-54). In July 2016, he saw an advertisement

   regarding IVC filters and became concerned that there may be an issue with his filter.

   (Filing No. 12933-16, Affidavit of David McDermitt (“McDermitt Aff.”) ¶ 2). He was

   familiar with Goldenberg Law because the law firm had represented his wife in another

   products liability case, so he called that firm. (Id. ¶ 3). Someone from Goldenberg Law

   told him it was “highly likely” his filter had perforated his vena cava and would be

   difficult to retrieve. (Id.). He was also told about the possibility of other potential issues

   with the filter, including that the filter could tilt, move, or fracture. (Id. ¶ 4).

          After signing a retainer, someone from Goldenberg Law advised him to get a CT

   scan. (Id.; McDermitt Dep. at 151). His primary care physician, Dr. Andrew Diller,

   ordered a CT scan that was performed on April 21, 2017. (McDermitt Aff. ¶ 5). The

                                                   2
Case 1:14-ml-02570-RLY-TAB Document 13187 Filed 03/31/20 Page 3 of 9 PageID #: 96799




   interventional radiologist who read his CT scan, Dr. Shannon Kauffman, noted no

   complications were found. (Filing No. 12803-8, Deposition of Shannon Kauffman, M.D.

   at 44, 101). Plaintiff’s expert, Dr. Derek Muehrcke, opined that the CT scan shows

   perforation of four struts and 20 degrees of tilt. (Filing No. 12803-5, Deposition of Derek

   Muehrcke, M.D. (“Muehrcke Dep.”) at 189-90; Filing No. 12803-1, Rule 26 Report of

   Dr. Muehrcke (“Muehrcke Report”) at 13). He also opined that Plaintiff’s filter had

   endothelialized and would be difficult to remove. (Muehrcke Report at 14). But he

   agrees that neither a perforation nor a tilt greater than 15 degrees1 appears on any of

   Plaintiff’s imaging prior to the April 21, 2017 CT. (Filing No. 12803-5 at 191 (“Q: So

   prior to 4/21/17, you do not have an image or scan showing perforation of Mr.

   McDermitt’s filter, correct? A: Correct.”)).

          Plaintiff filed his Complaint on March 23, 2018.

          All other facts necessary to resolve this motion will be addressed in the Discussion

   Section.

   II.    Discussion

          A.     Products Liability Claims

                 (1)     Waiver

          Plaintiff readily admits that his short form complaint reflects that his filter was

   placed more than 10 years before he filed his lawsuit. Cook, therefore, had all the



   1
     According to Dr. Muehrcke, placement images from 2007 show 15 degrees of tilt. (Muehrcke
   Dep. at 249; Muehrcke Report at 6). Dr. Muehrcke testified that tilt greater than “15 degrees is
   a complication.” (Muehrcke Dep. at 213).
                                                  3
Case 1:14-ml-02570-RLY-TAB Document 13187 Filed 03/31/20 Page 4 of 9 PageID #: 96800




   information it needed to raise the statute of repose defense and should have asserted it

   during the bellwether selection process so that the parties could have picked another case

   to try. Instead, Cook raised the defense only after it successfully advocated for the case

   to be selected as a bellwether trial, causing the parties to waste time and money.

   Consequently, Plaintiff concludes, Cook has waived the defense.

          “Waiver is the voluntary and intentional relinquishment of a known right.” In re

   Unsupervised Estate of Deiwart, 879 N.E.2d 1126, 1129 (Ind. Ct. App. 2008) (quoting

   LTV Steel Co. v. Zeller, 686 N.E.2d 904, 910 (Ind. Ct. App. 1997)); see also Anderson v.

   Catholic Bishop of Chicago, 759 F.3d 645, 651 (7th Cir. 2014) (“Waiver may be express

   or implied, but the evidence must show a clear, unequivocal and decisive act of a party

   demonstrating an intent to waive the known right.”) (internal quotation marks and

   citation omitted). Cook’s conduct during the bellwether selection process does not

   provide a basis for Plaintiff’s claim of waiver for at least three reasons. First, Cook

   asserted the statute of repose in its Answer to the Plaintiff’s Consolidated Master

   Complaint, a fact Plaintiff does not dispute. Second, until the February 1, 2020

   deposition of Plaintiff’s expert, Dr. Muehrcke, Cook had no way of knowing when

   Plaintiff claimed to have been injured. And there, Dr. Muehrcke conceded that the first

   indication of any perforation or injury appeared in Plaintiff’s April 2017 CT scan. Lastly,

   as Cook observes, a party does not waive a defense by asking the court to resolve the

   defense. “That is an expression of an intent to advocate, not abandon, a known right.”

   Anderson, 759 F.3d at 651. Accordingly, the court finds Cook did not voluntarily

   relinquish its right to assert a defense based on the statute of repose.

                                                  4
Case 1:14-ml-02570-RLY-TAB Document 13187 Filed 03/31/20 Page 5 of 9 PageID #: 96801




                  (2)     Timeliness

          Indiana’s statute of repose applies to Plaintiff’s product liability claims for failure

   to warn and design defect. 2 It provides, in relevant part:

          Sec. 1. (a) . . . Notwithstanding IC 34-11-6-1 [accrual of causes of action for
          minors, etc.], this section applies in any product liability action in which the
          theory of liability is negligence or strict liability in tort.

          (b) Except as provided in section 2 of this chapter [involving asbestos
          claims], a product liability action must be commenced:

                  ***

          (2) within ten (10) years after the delivery of the product to the initial user or
          consumer.

          However, if the cause of action accrues at least eight (8) years but less than
          ten (10) years after that initial delivery, the action may be commenced at any
          time within two (2) years after the cause of action accrues.

   Ind. Code § 34-20-3-1 (emphasis added).

          Plaintiff acknowledges his claims were not commenced within 10 years of the

   “initial delivery of the product to the initial consumer.” The issue is whether Plaintiff’s

   claims fall within the two-year “extension” window; specifically, whether Plaintiff’s

   claims accrued between January 8, 2015, and January 8, 2017.


   2
     Cook also argues the IPLA’s statute of repose applies to Plaintiff’s breach of implied warranty
   claims because they are based in tort, not contract. Cincinnati Ins. Cos. v. Hamilton
   Beach/Proctor-Silex, Inc., No. 4:05-cv-49, 2006 2006 WL 299064, at *3 (N.D. Ind. Feb. 7,
   2006) (“Indiana courts regard claims for breach of implied warranty sounding in tort as
   redundant with strict liability claims.”) (citing Spangler v. Sears, Roebuck & Co., 750 F.Supp.
   1437, 1449 (S.D. Ind. 1990)); Thiele v. Faygo Beverage, Inc., 489 N.E.2d 562, 584 (Ind. App.
   1986). Plaintiff responds that his claims are not tort-based; therefore, they are not subject to the
   IPLA. Because Plaintiff’s implied warranty claims can be resolved on other grounds, the court
   will address those claims in Section II.B.
                                                     5
Case 1:14-ml-02570-RLY-TAB Document 13187 Filed 03/31/20 Page 6 of 9 PageID #: 96802




          A cause of action accrues under the Indiana Products Liability Act “when the

   plaintiff knew or, in the exercise of ordinary diligence, could have discovered that an

   injury had been sustained as a result of the tortious act of another.” Wehling v. Citizens

   Nat’l Bank, 586 N.E.2d 840, 843 (Ind. 1992). In other words, “[a] cause of action

   accrues when all the elements necessary for recovery are met.” Wojcik v. Almase, 451

   N.E.2d 336, 341 (Ind. Ct. App. 1983) (“A cause of action accrues when all the elements

   necessary for recovery are met,” including that “the defect has caused physical harm to

   the user or consumer”); Neuhauser v. A.H. Robins Co., 573 F. Supp. 8, 9 (S.D. Ind. 1983)

   (“In Indiana a cause of action accrues at the time when both legal injury and damage have

   occurred[.]”).

          Plaintiff asserts his cause of action accrued in July 2016 “when he consulted with

   his attorney’s office and was advised of the medical studies that showed the high

   likelihood (more likely than not) that his filter was perforating the wall of his inferior

   vena cava.” (Filing No. 12933, Response at 18). But at the time Plaintiff spoke to

   someone at Goldenberg Law, there is no evidence that Plaintiff had suffered an injury.

   Plaintiff testified he had no symptoms that related in any way to his IVC filter—no pain,

   no discomfort, no physical limitations. Dr. Muehrcke agrees that as of July 2016,

   Plaintiff had no symptoms or problems related to perforation that would place him on

   notice of any problem with his filter. (Muehrcke Dep. at 257). Dr. Muehrcke

   acknowledged that the only way to diagnose a perforation is through imaging, and the

   only image that shows perforation was not taken until April 21, 2017—after the statute of



                                                 6
Case 1:14-ml-02570-RLY-TAB Document 13187 Filed 03/31/20 Page 7 of 9 PageID #: 96803




   repose’s two-year extension window had closed. (Id. at 190-91). Accordingly, Plaintiff’s

   product liability claims are barred.

          B.     Breach of Warranty Claims

          Cook argues Plaintiff’s claims for express warranty and implied warranty for a

   particular purpose require vertical privity, and there is no vertical privity between

   Plaintiff and Cook. Atkinson v. P&G-Clairol, Inc., 813 F.Supp.2d 1021, 1026 (N.D. Ind.

   2011) (collecting cases). Plaintiff responds that his warranty claims do not require privity

   because they are economic in nature and fall under Indiana’s Uniform Commercial Code

   (“UCC”), not the IPLA. But even if the court were to construe Plaintiff’s breach of

   warranty claims as UCC claims, Cook contends Plaintiff’s claims are barred by the

   UCC’s four-year statute of statute of limitations. The court agrees.

          Pursuant to Indiana’s UCC, Ind. Code § 26-1-2-715, a breach of warranty claim

   must be commenced within four years after the cause of action accrues, and a cause of

   action accrues “when tender of delivery is made.” Here, tender of the delivery occurred

   at the latest on the day of Plaintiff’s surgery—January 8, 2007. Plaintiff did not

   commence his cause of action until March 23, 2018.

          Not to be deterred, Plaintiff claims Cook fraudulently concealed the risks

   associated with the Tulip filter in its labeling and IFU and never shared these risks with

   doctors or patients. This “trickery, artifice, and outright fraud” misled Plaintiff and his

   doctors into “purchasing the defective filter” and “prevented [Plaintiff] from discovering

   the underlying cause of action for breaches of implied and express warranty until he

   spoke with Goldenberg Law in July 2016.” (Response at 30).

                                                 7
Case 1:14-ml-02570-RLY-TAB Document 13187 Filed 03/31/20 Page 8 of 9 PageID #: 96804




          Fraudulent concealment tolls the statute of limitations when a defendant conceals

   from the plaintiff material facts which prevent the plaintiff from discovering a potential

   cause of action. Lyons v. Richmond Cmty. Sch. Corp., 19 N.E.3d 254, 260 (Ind. 2014).

   “To invoke the doctrine where no fiduciary relationship exists between the parties . . . a

   plaintiff must show that the wrongdoer was not simply silent but committed affirmative

   acts designed to conceal the cause of action.” Horn v. A.O. Smith Corp., 50 F.3d 1365,

   1372 (7th Cir. 1995).

          Plaintiff does not allege that Cook committed any affirmative act to prevent him

   from discovering a cause of action against it. Indeed, Plaintiff does not even allege that

   Cook knew before being sued in this action that Plaintiff had a cause of action against the

   company; on the contrary, Plaintiff claims he did not know he was injured until someone

   at Goldenberg Law told him so. Accordingly, Plaintiff’s breach of warranty claims are

   barred.

          C.     Claim under the Ohio Consumer Sales Practices Statute

          The Ohio Revised Code prohibits “any unfair or deceptive act or practice in

   connection with a consumer transaction.” Ohio Rev. Code § 1345.02(A). Although

   Plaintiff’s filter was implanted in Indiana, he claims the Ohio statute applies because he

   “is an Ohio resident and has received a great amount of his medical treatment in Ohio

   with Ohio doctors.” (Response at 21). As Cook correctly notes, the consumer

   transaction at issue in this case occurred in Indiana. The conduct that Plaintiff

   characterizes as “occurring” in Ohio—Cook’s alleged continued failure to inform doctors



                                                8
Case 1:14-ml-02570-RLY-TAB Document 13187 Filed 03/31/20 Page 9 of 9 PageID #: 96805




   of various risks—postdates the filter transaction and could not have been material to that

   transaction. Therefore, this claim must be dismissed.

          D.     Punitive Damages

          Under Indiana law, there is no separate cause of action for punitive damages;

   “punitive damages are derivative of actual damages.” Chaiken v. Eldon Emmor & Co.,

   597 N.E.2d 337, 349 (Ind. Ct. App. 1992). As Plaintiff has no valid causes of action, he

   is not entitled to punitive damages.

   II.    Conclusion

          The court finds Plaintiff failed to raise a genuine issue of material fact on any of

   the claims raised in his Complaint. Accordingly, Cook’s Motion for Summary Judgment

   (Filing No. 12802) is GRANTED.



   SO ORDERED this 31st day of March 2020.



                                                     s/RLY




   Distributed Electronically to Registered Counsel of Record.




                                                 9
